
PER CURIAM.
We affirm the revocation of Ms. Crandall's probation and the resultant sentence without comment. Because the written sentence contains a single designation of credit ("Credit for Time Served: 72 Days (INCLUDING PRIOR PRISON CREDIT)") without delineating the jail credit to which she is entitled from the prison credit that the trial court also awarded, we remand only for the limited purpose of the entry of a new written sentence distinguishing between the jail and prison credit awards and clarifying that the calculation of the prison credit is to be calculated by the Department of Corrections. See Rowan v. State, 779 So.2d 417, 418 (Fla. 2d DCA 2000) ("This appears to be a scrivener's error that combines jail and prison credit.... The trial court need not calculate prison credit so long as the trial court checks the standard box allowing all appropriate prior prison credit.").
Affirmed; remanded.
SILBERMAN, LUCAS, and SALARIO, JJ., Concur.
